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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF VIRGINIA
                               ALEXANDRIA DIVISION

   IN RE CAPITAL ONE CUSTOMER
   DATA SECURITY BREACH LITIGATION                MDL No. 1:19-md-2915 (AJT/JFA)

   This Document Relates ONLY to the following
   Case:

   MARCUS MINSKY, Individually and on Behalf
   of All Others Similarly Situated,

                           Plaintiff,             Case No. 1:19-cv-1472 (AJT)

                           v.

   CAPITAL ONE FINANCIAL
   CORPORATION, RICHARD FAIRBANK, and
   R. SCOTT BLACKLEY,

         Defendants.

           DEFENDANTS’ MEMORANDUM OF LAW IN SUPPORT OF THEIR
              MOTION TO DISMISS THE CLASS ACTION COMPLAINT

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                                         I. INTRODUCTION

           On July 29, 2019, Capital One Financial Corporation (“Capital One” or the “Company”)

  announced that it had been targeted in a criminal cyber-attack involving certain personal

  information of approximately 106 million Capital One credit card customers and persons who had

  applied for credit card products (the “Cyber Incident”). After this announcement, the Company’s

  stock price temporarily declined by less than 6% (but has since more than fully recovered). This

  lawsuit followed, accusing the Company and senior management of securities fraud and seeking

  recovery of monetary damages based on the short-lived decline in Capital One’s share price.

           According to a certification filed with his Complaint,1 Plaintiff Marcus Minsky acquired

  fewer than five shares of Capital One common stock during the alleged class period at prices

  ranging from $95.82/share to $99.04/share—all of which are below the trading price of

  $101.38/share at which Capital One’s common stock closed on December 6, 2019. Based on

  conclusory and hindsight allegations that the Cyber Incident showed Capital One “did not maintain

  robust information security protections,” the Complaint alleges that general statements about

  Capital One’s information security efforts that appeared in the Company’s SEC filings or on its

  corporate website defrauded investors. The Complaint asserts a claim that Defendants face

  liability under Section 10(b) of the Securities Exchange Act of 1934 and that Capital One’s Chief

  Executive Officer and Chief Financial Officer also face liability under Section 20(a) of the

  Exchange Act as “controlling persons” of Capital One.

           For reasons explained more fully below, Plaintiff’s Complaint falls far short of satisfying

  the exacting pleading standards imposed by the Private Securities Litigation Reform Act of 1995,

  15 U.S.C. § 78u-4 et seq. (the “PSLRA”) and therefore must be dismissed. First, Plaintiff fails to



  1
      See Case 1:19-cv-01472-AJT-JFA, Document 1-1.
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  plead at all—let alone with particularity—facts showing that any of the challenged cybersecurity

  statements are false or misleading, as required by the PSLRA. Instead, Plaintiff simply points to

  the fact that the Cyber Incident occurred as support for allegations that Capital One failed to

  implement adequate data security safeguards. So reflexive is this effort that Plaintiff inexplicably

  challenges statements in Capital One 10-Ks warning of increased costs and reputational damage

  in the event of the theft, loss or misuse of information, including as a result of a cyber-attack.

  These conclusory allegations come nowhere close to satisfying the PSLRA’s heightened standards

  for adequately pleading actionable misleading statements.          Second, Plaintiff’s allegations

  challenging Capital One’s Online & Mobile Privacy Statement (the “Website Privacy Statement”),

  which is alleged to have appeared on Capital One’s website, fail to state a claim for relief because

  the Website Privacy Statement was neither directed to investors nor “reasonably calculated to

  influence the investing public,” and therefore is not a statement made “in connection with” the

  purchase or sale of securities upon which Section 10(b) liability can be predicated.

  15 U.S.C. § 78j(b). Third, Plaintiff fails to plead particular facts raising the required strong

  inference of scienter as to any Defendant. Plaintiff’s conclusory allegations that Defendants had

  “knowledge” of the purported falsity of their statements does not satisfy this exacting standard.

  Fourth, Plaintiff fails to adequately plead economic loss resulting from the alleged misstatements,

  as opposed to the adverse news of the Cyber Incident. Finally, Plaintiff’s Section 20(a) claim must

  be dismissed because Plaintiff has not adequately pled a primary violation of Section 10(b).

                       II. SUMMARY OF PLAINTIFF’S ALLEGATIONS

  A.     The Parties

         Defendant Capital One is a publicly-traded company whose common stock is listed on the

  New York Stock Exchange. Compl. ¶ 7. Capital One operates as the bank holding company for

  Capital One Bank (USA), National Association and Capital One, National Association. Id.


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  Capital One provides various financial products and services in the United States, United

  Kingdom, and Canada. Id. The Company is incorporated in Delaware and headquartered in

  Virginia. Id. Defendant Richard Fairbank is Capital One’s Founder, Board Chairman, Chief

  Executive Officer and President. Id. ¶ 8. Defendant R. Scott Blackley is Capital One’s Chief

  Financial Officer. Id. ¶ 9.

         Plaintiff Minsky claims to have purchased fewer than five shares of Capital One common

  stock at prices ranging from $95.82/share to $99.04/share in transactions executed on February 23

  and 28, 2018 and March 31, 2018. See Case 1:19-cv-01472-AJT-JFA, Document 1-1.2

  B.     The Cyber Incident

         On July 29, 2019, Capital One issued a press release reporting “unauthorized access by an

  outside individual who obtained certain types of personal information relating to people who had

  applied for its credit card products and to Capital One credit card customers.” Compl. ¶ 21. The

  Company stated, based on analysis undertaken to date, that the event appeared to have affected

  approximately 100 million individuals in the United States and approximately 6 million in Canada,

  that no credit card account numbers or log-in credentials were compromised, and that over 99

  percent of Social Security numbers were not compromised. Id. The release also stated that the

  Company had immediately fixed the configuration vulnerability that had been exploited and

  promptly began working with federal law enforcement. Id. The Federal Bureau of Investigation



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    On the December 2, 2019 PSLRA deadline for filing motions seeking appointment of a lead
  plaintiff and lead counsel for this securities action, the same lead firm that filed Mr. Minsky’s
  Complaint filed a motion on behalf of a different shareholder, Edward Shamoon, requesting that
  Mr. Shamoon be appointed as lead plaintiff for the securities action and that they be approved as
  lead counsel for the securities action. See Document 216. A Certification and “Loss Chart” filed
  with Mr. Shamoon’s motion states that he purchased 250 shares of Capital One common stock
  during the alleged class period and claims to have suffered $2,319.49 in losses on his investment.
  See Documents 216-3 & 216-4. Mr. Shamoon’s was the only motion filed seeking appointment
  as lead plaintiff and lead counsel for the securities action.

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  arrested the individual responsible for the unauthorized access, and to date, Capital One is aware

  of no evidence that the appropriated information was used for fraudulent purposes or further

  disseminated by that individual. Id.

  C.     Plaintiff’s Claims and the Challenged Statements

         Plaintiff challenges four basic categories of statements. First, Plaintiff challenges an

  excerpt from Capital One’s Website Privacy Statement, which Plaintiff alleges was “last updated

  May 1, 2014 and [was] found on [Capital One’s] website throughout the Class Period,” stating:

         At Capital One, we make your safety and security a top priority and are committed
         to protecting your personal and financial information. If we collect identifying
         information from you, we will protect that information with controls based upon
         internationally recognized security standards, regulations, and industry-based
         best practices.

  Id. ¶ 15 (Emphasis added). Second, Plaintiff alleges that Capital One’s Annual Reports on SEC

  Form 10-K for the years ended December 31, 2017 (the “2017 10-K”) and December 31, 2018

  (the “2018 10-K”) included statements (the “Data Security Statements”) that:

         We safeguard our customers’ and our own information and technology,
         implement backup and recovery systems, and generally require the same of our
         third-party service providers. We take measures that mitigate against known
         attacks and use internal and external resources to scan for vulnerabilities in
         platforms, systems, and applications necessary for delivering Capital One
         products and services.
  Compl. ¶¶ 17 & 19. Third, Plaintiff bizarrely challenges Risk-Factor statements in the 2017 and

  2018 10-Ks (the “Cyber-Risk Warnings”) clearly warning that:

         Although we believe we have a robust suite of authentication and layered
         information security controls, including our cyber threat analytics, data encryption
         and tokenization technologies, anti-malware defenses and vulnerability
         management program, any one or combination of these controls could fail to detect,
         mitigate or remediate these risks in a timely manner.

  Id. (emphasis added). Finally, Plaintiff challenges “certifications pursuant to the Sarbanes-Oxley

  Act of 2002 (“SOX”)” signed by Defendants Fairbank and Blackley “attesting to the accuracy of



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  financial reporting, the disclosure of any material changes to the Company’s internal control over

  financial reporting and the disclosure of all fraud” that were included with the 2017 and 2018 10-

  Ks (the “SOX Certifications”). Id. ¶ 16.

         Plaintiff alleges that all of the above challenged statements were false or misleading or

  because “(1) [Capital One] did not maintain robust information security protections, and its

  protection did not shield personal information against security breaches; (2) such deficiencies

  heightened the Company’s exposure to a cyber-attack; and (3) as a result, Capital One’s public

  statements were materially false and misleading at all relevant times.” Id. ¶ 20.

                                     III. LEGAL STANDARDS

         To state a claim under Section 10(b) and SEC Rule 10b-5, Plaintiff must allege and

  ultimately prove six elements: (1) a material misrepresentation or omission of material fact; (2)

  scienter; (3) a connection with the purchase or sale of a security; (4) reliance; (5) economic loss;

  and (6) loss causation. See Dura Pharms., Inc. v. Broudo, 544 U.S. 336, 341-42 (2005).

         Plaintiff’s claims are subject to the heightened pleading standards of Rule 9(b) and the

  PSLRA. Rule 9(b) provides that in “alleging fraud or mistake, a party must state with particularity

  the circumstances constituting fraud or mistake.” FED. R. CIV. P. 9(b). Rule 9(b) “encapsulates

  the goal of sorting out at an early stage ‘strike suits’ in the securities field.” See Teachers’ Ret.

  Sys. of La. v. Hunter, 477 F.3d 162, 171 (4th Cir. 2007) (citation omitted). In addition to the

  pleading requirements of Rule 9(b), this case is also subject to the “exacting pleading requirements

  of the PSLRA,” through which “Congress charged courts to be vigilant in preventing meritless

  securities fraud claims from reaching the discovery phase of litigation.” Cozzarelli v. Inspire

  Pharms., Inc., 549 F.3d 618, 623 (4th Cir. 2008). In enacting the PSLRA, Congress determined it




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  was necessary to raise the bar even higher than Rule 9(b) in the context of securities fraud. See

  Maguire Fin., LP v. PowerSecure Int’l, Inc., 876 F.3d 541, 546 (4th Cir. 2017).

         The PSLRA requires that Plaintiff “specify each statement alleged to have been misleading,

  the reason or reasons why the statement is misleading, and, if an allegation regarding the statement

  or omission is made on information and belief, … state with particularity all facts on which that

  belief is formed.” 15 U.S.C. § 78u-4(b)(1). Additionally, the PSLRA requires that Plaintiff “state

  with particularity facts giving rise to a strong inference that the defendant acted with the required

  state of mind.” Id. § 78u-4(b)(2)(A). The “required state of mind” is scienter, defined to mean “a

  mental state embracing intent to deceive, manipulate, or defraud.” See Tellabs, Inc. v. Makor

  Issues & Rights, Ltd., 551 U.S. 308, 319 (2007) (internal quotation marks and citation omitted).

  A “strong inference” of scienter is one that is “more than merely plausible or reasonable—it must

  be cogent and at least as compelling as any opposing inference of nonfraudulent intent.” Id. at

  314. The PSLRA also requires Plaintiff to plead “economic loss” that is caused by the alleged

  misrepresentations, rather than the multitude of other factors that can move a stock’s price. Dura,

  544 U.S. at 345. The Fourth Circuit Court of Appeals has held that the claim element of loss

  causation must be pled “with sufficient specificity to enable the court to evaluate whether the

  necessary causal link exists,” Hunter, 477 F.3d at 186, and confirmed that this standard is

  “consonant with Fed. R. Civ. P. 9(b)’s requirement that averments of fraud be pled with

  particularity.” Katyle v. Penn Nat’l Gaming, Inc., 637 F.3d 462, 471 (4th Cir. 2011), cert. denied,

  565 U.S. 825 (2011).




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                                              IV. ARGUMENT

  A.         Plaintiff Fails To Plead Falsity At All, Let Alone With Particularity.

             Plaintiff’s claims rest entirely upon the conclusory and unsupported assertion that the

  challenged statements were false simply because the Company was the victim of an unauthorized

  data theft. The Complaint lacks the required allegations of particular facts showing that the

  challenged statements were false or misleading when made and therefore must be dismissed for

  failure to adequately plead a claim for relief. See 15 U.S.C. § 78u-4(b)(1); see also FED. R. CIV.

  P. 9(b).

             1.     Conclusory Allegations That Capital One’s Security Protections Were Not
                    “Robust” And Did Not Prevent The Cyber Incident Fail To Show That Any
                    Of The Challenged Statements Were False.

             The crux of Plaintiff’s allegations is that the challenged statements were false or misleading

  because “the Company did not maintain robust information security protections” and “its

  protection did not shield personal information against security breaches.” Compl. ¶ 20. These

  conclusory allegations fall far short of satisfying the PSLRA’s heightened standards for pleading

  falsity for several reasons.

             First, the fact that the Cyber Incident occurred does not render the challenged statements

  false or misleading (nor does it even establish that Capital One lacked robust security measures).

  In a similar case, another federal court rejected substantively identical securities fraud claims

  predicated on allegations that the failure to implement adequate cybersecurity measures resulted

  in the theft of sensitive consumer data. See In re Heartland Payment Sys., Inc. Sec. Litig., Civ.

  No. 09-1043, 2009 WL 4798148, at *5 (D.N.J. Dec. 7, 2009). In Heartland, the plaintiffs alleged

  that the defendant payment processing company misrepresented the state of its data security prior

  to a cyber-attack that resulted in the theft of 130 million credit and debit card numbers, contending

  that the breach proved that those statements had been false or misleading. Id. at *4-6. The court


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  dismissed the plaintiff’s claims, however, holding that “[t]he fact that a company has suffered a

  security breach does not demonstrate that the company did not ‘place significant emphasis on

  maintaining a high level of security.’” Id. at *5. Specifically, the court held that the breach did not

  render the defendants’ aspirational statements about security false or misleading, finding that it

  was more plausible that “Heartland did place a high emphasis on security but that the Company’s

  security systems were nonetheless overcome.” Id. (“[T]he alleged facts are more plausibly

  explained by lawful behavior than illegal deception”).

         Plaintiff’s allegations are far weaker and less particular than those in Heartland. Compare,

  e.g., Heartland, 2009 WL 4798148 at *5-6 (addressing statements that Heartland “place[d]

  significant emphasis on maintaining a high level of security” and maintained a network

  configuration that “provides multiple layers of security to isolate our databases from unauthorized

  access”), with, e.g., Compl. ¶ 15 (“[W]e make your safety and security a top priority . . . .”); id. ¶

  17 (“We safeguard our customers’ and our own information and technology, implement backup

  and recovery systems . . . .”); id. (“We take measures that mitigate against known attacks and use

  internal and external resources to scan for vulnerabilities . . . .”). As with the corporate defendant

  in Heartland, the fact that Capital One suffered a criminal cyber-attack does not render false its

  prior statements about commitment to cybersecurity, efforts to protect sensitive information, and

  measures taken to mitigate related risks. See Heartland, 2009 WL 4798148, at *5-6.

         Second, even if Plaintiff had pled particular facts supporting their allegations that Capital

  One lacked robust information security protections (and he has not) such allegations would not

  suffice to plead the falsity of statements that Capital One “protect[ed]” information in its custody,

  “safeguard[ed]” information and technology, took measures “that mitigate against known attacks,”

  and “use[d] internal and external resources to scan for vulnerabilities.” Id. ¶¶ 15, 17, 19. Instead,




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  Plaintiff merely second-guesses the extent or efficacy of those efforts. Absent particularized

  allegations that Capital One did not in fact have a data security system, hindsight allegations that

  the Company’s efforts did not succeed in preventing the Cyber Incident do not support a claim for

  securities fraud. See Ong v. Chipotle Mexican Grill, Inc. (“Chipotle II”), 294 F. Supp. 3d 199, 232

  (S.D.N.Y. 2018) (holding that allegations that did not “conflict with Defendants’ statements

  regarding the . . . programs and procedures that Chipotle had in place, but merely quibble[d] with

  [the] execution of those programs and procedures,” failed to adequately plead the statements’

  falsity); see also Howard v. Arconic Inc., 395 F. Supp. 3d 516, 547 (W.D. Pa. 2019) (“Arconic’s

  general statements about its values, workplace safety, and ethics—which read like mission

  statements rather than guarantees—were not rendered misleading by product safety issues related

  to Reynobond PE’s ultimate use.”). Likewise, Plaintiff has failed to show that the challenged

  statements referring to Capital One’s general commitment to data security were false or

  misleading. See, e.g., Compl. ¶ 15 (safety and security are a “top priority” and Capital One is

  “committed to protecting your personal and financial information.”). Challenges to the efficacy

  of Capital One’s security systems do not establish that Capital One was not committed to data

  security. See Heartland, 2009 WL 4798148, at *5.

         Instead, such allegations at best seek to dress up claims of corporate mismanagement as

  securities fraud and thus fail to state a claim under Section 10(b). Indeed, as the Supreme Court

  held forty years ago, “Congress by [enacting] § 10(b) did not seek to regulate [conduct] which

  constitute[s] no more than internal corporate mismanagement.” See Santa Fe Indus. v. Green, 430

  U.S. 462, 479-80 (1977) (internal quotation marks omitted). Allegations that Defendants should

  have implemented different or better security measures to protect data are, at most, allegations of

  “mismanagement,” for which the securities laws do not provide a remedy. See id. Further, merely




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  alleging a failure to disclose possible mismanagement and operational issues does not state a claim

  under Section 10(b). See Cutsforth v. Renschler, 235 F. Supp. 2d 1216, 1242-44 (M.D. Fla. 2002)

  (applying Santa Fe and dismissing claims similarly based on alleged failure to disclose “severe

  problems” with computer systems and other operational problems).

          For all of these reasons, Plaintiff’s allegations that Capital One “did not maintain robust

  information security protections,” “its protection did not shield personal information against

  security breaches,” and “such deficiencies heightened the Company’s exposure to a cyber-attack”

  (Compl. ¶ 20) fall far short of satisfying the PSLRA’s requirement to plead particular facts

  demonstrating that the challenged statements were false or misleading.

          2.      Plaintiff Has Not Pled Falsity Of The SOX Certifications.

          Plaintiff’s claims challenging the SOX Certifications also must be dismissed because

  Plaintiff fails to plead any facts suggesting that those statements were false and misleading. As

  alleged in the Complaint, the SOX Certifications address “the accuracy of [Capital One’s]

  financial reporting.” Compl. ¶¶ 16, 18 (emphasis added). The Complaint does not include any

  allegations at all, much less allegations of particular facts, suggesting that Capital One’s financial

  reporting was in any way inaccurate or that the Company lacked internal controls of the type

  described by the SOX certifications.        Accordingly, Plaintiff’s claims challenging the SOX

  Certifications must be dismissed. See, e.g., In re Banco Bradesco S.A. Sec. Litig., 277 F. Supp. 3d

  600, 648-49 (S.D.N.Y. 2017) (dismissing claims challenging certifications about financial

  reporting controls where plaintiff failed to allege any failure in financial reporting (e.g., a need to

  restate published financial results)) (citing cases).




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         3.        Plaintiff Has Not Pled That The Cyber-Risk Warnings Were Misleading.

         Plaintiff also fails to adequately plead the falsity of the Cyber-Risk Warnings, which in

  addition to warning that Capital One could suffer a significant and damaging cyber-attack stated

  that “we believe we have a robust suite of authentication and layered information security controls,

  including our cyber threat analytics, data encryption and tokenization technologies, anti-malware

  defenses and vulnerability management program.” Compl. ¶¶ 17, 19. Such statements of belief

  or opinion are not actionable unless the plaintiff pleads sufficient facts to establish that the speaker

  did not actually hold the stated belief at the time it was expressed. See Nolte v. Capital One Fin.

  Corp., 390 F.3d 311, 315 (4th Cir. 2004) (holding that to plead an opinion is a false statement, the

  complaint “must allege that the opinion expressed was different from the opinion actually held by

  the speaker”); see also Longman v. Food Lion, Inc., 197 F.3d 675, 683 (4th Cir. 1999) (“Opinions

  c[an] be false and factual if the [speakers] did not believe what they said they believed”). Plaintiff

  has not alleged any particularized facts showing that Defendants did not genuinely believe Capital

  One’s information security measures were robust, as stated. Nor does Plaintiff plead facts

  demonstrating that Capital One did not have in place the various security measures referenced in

  this opinion statement. Plaintiff’s claim challenging the Cyber-Risk Warnings therefore fails as a

  matter of law.

  B.     The Website Privacy Statement Was Not Made “In Connection With” The Purchase
         Or Sale Of Securities And, Thus, Is Not Actionable.

         In addition to the lack of supporting fact allegations establishing that the Website Privacy

  Statement was in any way false or misleading (see Section IV.A.1.), Plaintiff’s claim challenging

  this statement also fails for the additional and independent reason that the statement does not

  qualify as one made “in connection with” the purchase or sale of a security, as required to give rise




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  to a claim under Section 10. See 15 U.S.C. § 78j(b); see also SEC v. Tex. Gulf Sulphur Co., 401

  F.2d 833, 858-64 (2d Cir. 1968) (discussing the “in connection with requirement”).

         In order to satisfy the “in connection with” requirement, a statement must have been made

  “in a manner reasonably calculated to influence the investing public.” Tex. Gulf Sulphur, 401 F.2d

  at 862; accord McGann v. Ernst & Young, 102 F.3d 390, 397 (9th Cir. 1996). The Website Privacy

  Statement, which is not alleged to have been included in any SEC filing or other communication

  directed to investors, but instead is alleged to have been a consumer-directed statement appearing

  on Capital One’s website, does not meet this standard. See In re LifeLock, Inc. Sec. Litig., 690

  Fed. App’x 947, 954 (9th Cir. 2017) (finding that alleged statements made in advertisements

  “might have some probative value in an action based on consumer protection laws,” but “have

  none in a case alleging investor fraud”); cf. SEC v. Rana Research, Inc., 8 F.3d 1358, 1362 (9th

  Cir. 1993) (citing cases showing that statements actionable under Section 10(b) typically include

  those published in company press releases, annual and quarterly reports, analyst reports, proxy

  statements, and other SEC filings). Because it was not made “in connection with the purchase or

  sale of any security,” the Website Privacy Statement is not actionable under Section 10(b).

  15 U.S.C. § 78j(b).3

  C.     Plaintiff Fails to Allege Particularized Facts Giving Rise To A Strong Inference of
         Scienter.

         Plaintiff’s Complaint also must be dismissed because it fails to meet the PSLRA’s

  heightened standards for pleading scienter. See 15 U.S.C. § 78u-4(b)(2)(A). Plaintiff relies

  entirely on conclusory allegations that Defendants had knowledge of or access to undisclosed


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     The Complaint fails to allege that the Individual Defendants made or approved the Website
  Privacy Statement, providing an independent basis for their dismissal with respect to this
  statement. See Janus Capital Group, Inc. v. First Deriv. Traders, 564 U.S. 135, 142 (2011) (“For
  purposes of Rule 10b–5, the maker of a statement is the person or entity with ultimate authority
  over the statement, including its content and whether and how to communicate it.”).

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  information regarding the Company’s cybersecurity by virtue of their positions in the Company.

  Such allegations are insufficient under the PSLRA, which instead requires Plaintiff to plead

  particularized facts giving rise to a strong inference that Defendants acted with scienter.

  PowerSecure, 876 F.3d at 548 (quoting 15 U.S.C. § 78u-4(b)(2)). Plaintiff must plead such

  particular facts supporting a strong inference of scienter as to each defendant with respect to each

  violation. See Hunter, 477 F.3d at 184. And “if the defendant is a corporation, the plaintiff must

  allege facts that support a strong inference of scienter with respect to at least one authorized agent

  of the corporation, since corporate liability derives from the actions of its agents.” Id. Plaintiff’s

  Complaint fails to satisfy these tests.

          1.      Plaintiff Fails To Raise A Strong Inference Of Actual Knowledge Or Severe
                  Recklessness.

          Plaintiff relies exclusively on two categories of conclusory allegations in favor of scienter:

  (i) that Defendants had “knowledge” of the falsity of their statements, and (ii) that they had access

  to information demonstrating this falsity by virtue of their positions within the Company. See, e.g.,

  Compl. ¶ 11 (defendants were “aware of or recklessly disregarded the fact that the false and

  misleading statements were being issued”); id. (“Each of the Individual Defendants . . . was privy

  to confidential proprietary information concerning the Company and its business and operations .

  . . .”); id. ¶ 38 (“Defendants acted with scienter in that they knew that the public documents and

  statements issued . . were materially false . . . .”) ; id. ¶ 39 (“Individual Defendants . . . intended to

  deceive Plaintiff . . . or, in the alternative, acted with reckless disregard . . . .”). These allegations

  fall far short of meeting the PSLRA’s exacting requirements.

          First, Plaintiff alleges that Defendants “intended to deceive” and “knew that the public

  documents and statements” were false or misleading.             Compl. ¶¶ 38, 39.       However, such

  conclusory assertions fail to meet the PSLRA’s heightened pleading standards for scienter. See In



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  re Genworth Fin. Inc. Sec. Litig., 103 F. Supp. 3d 759, 783 (E.D. Va. 2015) (“Adding the words

  ‘knowingly’ or ‘recklessly’ to a factual statement is insufficient pleading.” (internal quotations

  omitted)); Smith v. Circuit City Stores, Inc., 286 F. Supp. 2d 707, 714-15 (E.D. Va. 2003)

  (“Pleadings that couple a factual statement with a conclusory allegation of fraudulent intent are

  too broad and conclusory under the Reform Act.” (internal quotations omitted)). Plaintiff’s

  barebones allegations that Defendants acted with “knowledge” fail to satisfy the PSLRA’s

  particularity requirements.

         Second, Plaintiff cites the Individual Defendants’ positions in the company and access to

  material non-public information in support of a finding of scienter. See Compl. ¶¶ 11, 38, 39.

  However, absent other particularized allegations, such speculative and generic pleading fails to

  establish a strong inference of scienter. “Guesswork of this kind, based on the position of the

  Defendants is insufficient under the Reform Act.” Circuit City, 286 F. Supp. 2d at 715 (citing In

  re First Union Corp. Sec. Litig., 128 F. Supp. 2d 871, 888 (W.D.N.C. 2001)). These allegations

  are not supported by any particularly pled facts showing that Defendants, because of their positions

  in the Company, received specific information contradicting their public statements about Capital

  One’s cybersecurity. As such, they fail to satisfy the stringent standards of the PSLRA. See Circuit

  City, 286 F. Supp. 2d at 715.

         Essentially, Plaintiff relies on the occurrence of the Cyber Incident itself, and nothing more,

  to presume both that the public statements were false and that Defendants knew they were false

  when made. But these allegations show no such thing, and they are insufficient under the PSLRA.

  See, e.g., Heartland, 2009 WL 4798148, at *7-8 (finding scienter not adequately pled where

  allegations failed to show defendants believed data security measures were deficient when

  speaking about them); see also Plymouth Cnty. Ret. Ass’n v. Primo Water Corp., 966 F. Supp. 2d




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  525, 547 (M.D.N.C.) (rejecting hindsight allegations); Hunter, 477 F.3d at 181 (similar). Plaintiff

  does not plead any facts suggesting that, at the times the challenged statements were made,

  Defendants knew of or recklessly disregarded contrary or conflicting information. Furthermore,

  there are no allegations of insider trading or other improper motive by Defendants. “While insider

  trading may . . . support an inference of scienter . . ., it only will do so if the timing and amount of

  the sale(s) are ‘unusual or suspicious.’” In re PEC Sols., Inc. Sec. Litig., 418 F.3d 379, 390 (4th

  Cir. 2005). This failure to allege an improper personal motive weighs against a finding of scienter.

  See Cozzarelli, 549 F.3d at 626 (lack of unlawful intent weighs against finding of scienter).

         2.      The More Compelling Inference Is That Defendants Believed The Challenged
                 Statements.

         As discussed above, Plaintiff’s theory of scienter rests on a combination of hindsight and

  conclusory speculation. Essentially, Plaintiff claims—based on the occurrence of the Cyber

  Incident itself—that Defendants knew about supposed vulnerabilities in Capital One’s data

  security systems but nonetheless issued statements regarding the strength and importance of these

  systems, statements which Plaintiff alleges, in conclusory fashion, were fraudulent. In weighing

  scienter, “[a] court must compare the malicious and innocent inferences cognizable from the facts

  pled in the complaint, and only allow the complaint to survive a motion to dismiss if the malicious

  inference is at least as compelling as any opposing innocent inference.” Yates v. Mun. Mortgage

  & Equity, LLC, 744 F.3d 874, 885 (4th Cir. 2014).               Because Plaintiff’s conclusory and

  circumstantial allegations are far outweighed by a much more compelling inference of non-

  fraudulent intent, the complaint should be dismissed. See Tellabs, 551 U.S. at 324

         The more compelling inference is that, when the challenged statements were made,

  Defendants genuinely believed that Capital One’s data security measures were reasonably and

  appropriately designed to protect sensitive information in its custody and that the statements were



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  accurate. As even the Federal Trade Commission has recognized, “there is no[] such thing as

  perfect security.” See “Data Security: Why It’s Important, What the FTC is Doing About It,”

  March 24, 2014 Remarks by Jessica Rich, Director, Bureau of Consumer Protection, FTC, p. 4

  (https://www.ftc.gov/system/files/documents/public_statements/295751/140324nclremarks.pdf).

  The fact that the Company suffered a criminal attack in no way raises an inference that the

  Defendants had knowledge that such an attack would occur or that Capital One’s defenses were

  deficient. This inference follows naturally when considering that Plaintiff offers no allegations of

  any motivation for Defendants to make misstatements on this subject. See Cozzarelli, 549 F.3d at

  626 (“While that sort of ‘smoking-gun’ allegation is not necessary to support an inference of

  scienter, . . . plaintiffs do have the difficult task of establishing a countervailing, cogent inference

  of scienter through indirect and circumstantial allegations.”). Because the more compelling

  inference is one of non-fraudulent intent, the Complaint must be dismissed. See Tellabs, 551 U.S.

  at 324.

  D.        Plaintiff Has Not Sufficiently Pled Economic Loss Caused By The Alleged “Fraud.”

            The Complaint also must be dismissed because Plaintiff has not adequately pled that his

  claimed losses were caused by the alleged “fraud.” To survive dismissal, a plaintiff must “allege

  loss causation in the complaint with sufficient specificity to enable the court to evaluate whether

  the necessary causal link exists.” Katyle, 637 F.3d at 465-66. To do so, “the plaintiff must plead

  (1) the ‘exposure’ of the defendant’s misrepresentation or omission, i.e., the revelation of ‘new

  facts suggesting [that the defendant] perpetrated a fraud on the market,’ and (2) that such exposure

  ‘resulted in the decline of [the defendant’s] share price.” Singer v. Reali, 883 F.3d 425, 445 (4th

  Cir. 2018) (quoting Katyle, 637 F.3d at 473).

            Where, as here, a plaintiff “has not adequately pled facts which, if proven, would show that

  its loss was caused by the alleged misstatements . . . as opposed to intervening events,” the


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  Complaint fails. Katyle, at 471. It is not sufficient to merely allege a price decline following an

  announcement of negative news, as the Complaint does here. Instead, the stock price drop must

  follow a “corrective” disclosure that reveals the alleged fraud. Such a disclosure “must reveal to

  the market in some sense the fraudulent nature of the practices about which a plaintiff complains.”

  Id. at 473 (quotations and citations omitted); see also Hunter, 477 F.3d at 187 (to allege loss

  causation “plaintiffs would have to allege that the market reacted to new facts . . . that revealed …

  previous representations to have been fraudulent.”).

         The Fourth Circuit recognizes two ways in which “exposure” of the fraud can be pled: (1)

  the corrective disclosure theory, where the defendant issues a disclosure “that ‘publicly revealed

  for the first time’ that the company perpetrated a fraud on the market,” and (2) the materialization

  of a concealed risk theory, where “news from another source revealed the company’s fraud.”

  Singer, 883 F.3d at 445-46. In either instance, “the plaintiff must show that the loss caused by the

  alleged fraud results from the relevant truth . . . leak[ing] out.” Id. at 446. It is unclear from

  Plaintiff’s allegations which theory is being pursued in this case. However, the Complaint satisfies

  neither theory, as none of the alleged disclosures revealed any earlier misstatements.

         Notably, the Fourth Circuit has explained that heightened pleading standards apply to loss

  causation allegations.   See Hunter, 477 F.3d at 186.        Plaintiff’s conclusory loss causation

  allegations fail to satisfy even basic notice pleading standards under Rule 8—let alone the

  heightened pleading standards of Rule 9(b). Plaintiff merely alleges that the market price of the

  Company’s securities was “artificially inflated” and that “[a]s a result of Defendants’ wrongful

  acts and omissions, and the precipitous decline in the market value of the Company’s securities,

  Plaintiff and other Class members have suffered significant losses and damages.” Compl. ¶¶ 24,

  40. However, this is just a legal conclusion that falls far short of alleging particularized facts




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  showing that Plaintiff’s purported losses were caused by any alleged fraud (or revelation thereof).

  For this reason alone, the Complaint fails to adequately plead loss causation and therefore must be

  dismissed.

          Moreover, Plaintiff has failed to adequately allege either a corrective disclosure or a

  materialization of a concealed risk. Plaintiff alleges that Capital One’s stock price dropped

  following the announcement of the Cyber Incident. But nowhere does the Complaint explain how

  that announcement revealed that any of Defendants’ earlier challenged statements were false or

  misleading when made. The announcement did not “reveal” that the Company failed to safeguard

  information, or take measures to mitigate known risks. Instead, it merely announced that the

  Company had fallen victim to a third party’s criminal act. While this negative information may

  have had a downward effect on the Company’s stock price, it did not “reveal” a fraud. These

  allegations do not establish either a corrective disclosure or a materialization of a concealed risk

  because they do not plead that the alleged truth “leaked” out.           Singer, 883 F.3d at 446.

  Accordingly, the Complaint fails to plead loss causation and must be dismissed for this reason as

  well.

  E.      The Complaint Fails To State A Claim Under Section 20(a).

          Finally, Plaintiff’s Section 20(a) “controlling person” liability claim also must be

  dismissed. Plaintiff must allege a primary violation of the securities laws to state a claim for

  control person liability under Section 20(a). See Hunter, 477 F.3d at 188. Because the Complaint

  fails to state a claim for violation of Section 10(b) or Rule 10b-5, the asserted Section 20(a) claim

  likewise fails. See id.




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                                       V. CONCLUSION

         For the foregoing reasons, the Defendants respectfully request that the Court dismiss the

  Complaint with prejudice.

         Respectfully submitted this 6th day of December 2019.


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                                 CERTIFICATE OF SERVICE

         I hereby certify that on December 6, 2019, I electronically filed the foregoing document

  with the Clerk of the Court using the CM/ECF system, which will send notice of electronic filing

  to all counsel of record.


                                                   /s/
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